    Case 5:16-cv-00880-LEK-ATB Document 12 Filed 11/23/16 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF NEW YORK

*************************************
Nationwide Affinity Ins. Co. of
America a/s/o Kelly Burt and Brittini Burt,

                               Plaintiff,                             Case No. 5:16-cv-00880
               v.                                                     (LEK/ATB)

United States of America,

                               Defendant.
**************************************

                                    STIPULATION OF DISMISSAL

        IT IS HEREBY STIPULATED AND AGREED, by and between the parties to the above-

captioned action, plaintiff NATIONWIDE AFFINITY INSURANCE COMP ANY OF AMERICA

a/s/o KELLY BURT AND BRITTIN! BURT, and defendant UNITED STATES OF AMERICA,

by and through their undersigned attorneys, that plaintiffs complaint against defendant,

defendant's counterclaim against plaintiff, and all claims therein be and hereby are dismissed, with

prejudice, pursuant to Fed. R. Civ. P. 41 (a)(l)(A)(ii), without costs or fees to any party as against

any other. That no party hereto is an infant or incompetent. No further suit may be instituted for

the same causes of action which have been asserted herein, or for any other causes of action arising

out of the incidents or circumstances that gave rise to this action; and

        IT IS FURTHER STIPULATED AND AGREED that this Stipulation and Order may be

executed in separate counterparts and by facsimile signature, each of which shall be deemed to be

an original.

        Once this Stipulation and Order has been signed and so ordered by the Court, the Clerk of

the Court shall enter judgment in this case dismissing the action with prejudice and shall close the

case.
   Case 5:16-cv-00880-LEK-ATB Document 12 Filed 11/23/16 Page 2 of 2




                              , 2016

                                           Attorney for Plaintiff    . 'I
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Dated:   I/ow./11bec :1.. \   , 2016
                                           Ransom   1-40=
                                           Assistant United States Attorney
                                           Bar Roll No. 512035
                                           Attorney for the United States
                                           United States Attorney's Office
                                           100 South Clinton Street, Ste. 900
                                           Syracuse, New York 13261




SO ORDERED:

DateNovember
     d : - - -23,
               - - - - - - ' 2016
  Albany, New York
                                           Hon. Lawrence E. Kahn
                                           Senior U.S. District Judge




                                       2
